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                                      ORDERED.


     Dated: August 15, 2018




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

In re:                                           Case No. 8-18-04647-cpm
                                                 Chapter 7
NIKITA WILLIAMS AND
ANTHONY WILLIAMS,
     Debtors.

   ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
             REAL ESTATE SERVICES AND A TO Z REALTY
               TO PROCURE CONSENTED PUBLIC SALE
       PURSUANT TO 11 U.S.C. §§327, 328 AND 330 OF THE PROPERTY

                This cause came on for consideration upon the Chapter 7 Trustee’s Application to
Retain BK Global Real Estate Services and Roxana Argueta of A to Z Realty to Procure
Consented Public Sale pursuant to 11 U.S.C. § § 327, 328 and 330 (“Application”) (Doc. No.
23). The Court has considered the Application, together with the record, and is satisfied that the
Application is well taken and should be approved.
         Accordingly it is ORDERED, ADJUDGED, AND DECREED as follows:
         1.     The Application is hereby approved.
         2.    The Trustee is authorized to retain and compensate BKRES and Listing Agent to
procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s
Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and
Bankruptcy Rules 2014 and 2016, in accordance with the terms and conditions set forth in the
BKRES Agreement, the Listing Agreement and this Order. BKRES and Listing Agent shall not
split or otherwise share their fees with any other person or entity.
        3.      BKRES and Listing Agent are disinterested persons within the meaning of
Bankruptcy Code Section 101(14).
         4.     Compensation will be determined later in accordance with 11 U.S.C. Sec. 330.

    Stephen L. Meininger, Trustee, is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
